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                 IN THE UNITED STATES DISTRICT COURT FOR THE
6
                           EASTERN DISTRICT OF CALIFORNIA
7

8    UNITED STATES OF AMERICA,          ) CR. F-02-5301 OWW
                                        )
9                        Plaintiff,     )
                                        )
10        v.                            )
                                        )
11   PAUL WHITMORE,                     )
                                        )
12                                      )
                         Defendant.     )
13                                      )

14                                      ORDER

15        It is ordered that this matter be heard on January 29, 2007,

16   at 1:30 p.m.    To the extent it is necessary, it is further
17   ordered that any delay resulting from this continuance shall be
18   excluded in the interests of justice under 18 U.S.C. §§
19   3161(h)(1)(F), (h)(8)(A), and (h)(8)(B)(I).
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21
     IT IS SO ORDERED.
22
     Dated: December 20, 2006               /s/ Oliver W. Wanger
23   emm0d6                            UNITED STATES DISTRICT JUDGE
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